         Case 3:22-cr-00342-SCC Document 403 Filed 11/08/23 Page 1 of 6




                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

    UNITED STATES OF AMERICA,
    Plaintiff,
               v.                                            CRIMINAL NO. 3:22-342 (SCC)

    [1] WANDA VÁZQUEZ GARCED,
    [2] JULIO M. HERRERA VELUTINI,
    [3] MARK T. ROSSINI,
    Defendants.


        THE UNITED STATES’ UNOPPOSED MOTION TO PRODUCE AND
       FOR A FED. R. EVID. 502(d) PROTECTIVE ORDER OVER DISCOVERY
       MATERIALS THAT MAY CONTAIN POTENTIALLY PRIVILEGED OR
                 PROTECTED MATERIAL OF A THIRD-PARTY

       The United States of America, by and through its assigned Filter Team, 1 respectfully files

this motion seeking authorization to produce to Defendants Wanda Vázquez Garced, Julio M.

Herrera Velutini, and Mark T. Rossini (collectively “Defendants”) discovery materials that may

contain information potentially subject to the attorney-client privilege, attorney work product

doctrine, or other privilege or protection belonging to a third-party (collectively “BIBTC Filter

Material”) and that this material be subject to a protective order, pursuant to Fed. R. Evid. 502(d).

The Government has communicated with counsel for Driven Administrative Services, LLC, acting

in its capacity as receiver (the “Receiver”) for Third-Party Bancredito International Bank & Trust,

Corp. (hereinafter “BIBTC”), and counsel has represented that the Receiver for BIBTC consents

to this motion. Counsel for Defendants also do not object to this motion.




1
  Pursuant to the Court’s Order, ECF No. 170, the Filter Team is not composed of members from
the Department of Justice’s Public Integrity Section. Filter Team Counsel have a separate reporting
and supervisory chain from the Prosecution Team in this case and are supported by paralegals and
other professional staff who are not part of the Prosecution Team and who are not part of the Public
Integrity Section.
         Case 3:22-cr-00342-SCC Document 403 Filed 11/08/23 Page 2 of 6




       The Government has identified that certain material subject to discovery in this matter may

contain information subject to the attorney-client privilege, attorney work product doctrine, or

other privilege or protection of BIBTC. The material at issue includes material obtained in

response to search warrants executed on an Apple Account associated with Defendant Herrera; a

Yahoo Account associated with Defendant Hererra; an Apple Account associated with Defendant

Rossini; a Google Account associated with Defendant Rossini; an Apple Account associated with

Frances Diaz, the former president of BIBTC who pleaded guilty in March 2022 in Case No. 222-

cr-085 (FAB); a Yahoo Account associated with Diaz; and two phones seized from Diaz.

       In addition to applying filter terms provided by the account holders on the applicable

materials (i.e., Defendant Rossini’s term will be applied on Rossini’s email accounts), out of an

abundance of caution, the Filter Team is also applying filter terms provided by counsel for the

Receiver for BIBTC on these accounts because Herrera was the sole shareholder of BIBTC, Diaz

was BIBTC’s president and CEO, and the Government understands that Rossini may have done

contract work for BIBTC.

       Pursuant to Fed. R. Evid. 502(d), the Court may order that any information potentially

subject to the attorney-client privilege, attorney work product doctrine, or other privilege or

protection shall not result in any subject matter waiver in this proceeding and will not result in the

waiver of the attorney-client privilege, attorney work product doctrine, or any other applicable

privilege or protection, in this or in any other Federal or State proceeding. In addition, pursuant to

Fed. R. Crim. P. 16(d), the Court may regulate discovery and grant any appropriate relief.

Accordingly, to comply with its discovery obligations and to avoid protracted litigation over any

potential privileges or protections held by BIBTC, the Government, through its Filter Team, and

with consent of the Receiver for BIBTC, respectfully requests that the Court enter a 502(d)



                                                  2
         Case 3:22-cr-00342-SCC Document 403 Filed 11/08/23 Page 3 of 6




protective order over the BIBTC Filter Material and authorize the Filter Team to produce this

Material to Defendants. In addition, the previously entered Protective Orders (ECF Nos. 31 and

76) shall also apply to this material. Material hitting on the terms provided by the account holder

will be produced to the account holder for privilege assertion in the first instance prior to

production to any other party. Material that does not hit on any account holder terms, but does hit

on BIBTC’s terms, will be provided to all Defendants, subject to the non-waiver protections

provided by Fed. R. Evid. 502(d).

       The BIBTC Filter Material will not be produced to the Government’s Prosecution Team

without further authorization by BIBTC or the Court. 2

                                        CONCLUSION

       For the foregoing reasons and for any other such reasons as may appear to the Court, the

Government respectfully requests that the Court grant the Government’s motion seeking a Fed. R.

Evid. 502(d) Protective Order over the BIBTC Filter Material and authorize the production of the

BIBTC Filter Material to Defendants pursuant to Fed. R. Crim. P. 16(d) and the Fed. R. Evid.

502(d) Protective Order.

       RESPECTFULLY SUBMITTED, this 8th day of November, 2023.

                                             GLENN S. LEON, CHIEF
                                             Chief, Fraud Section
                                             CRIMINAL DIVISION,
                                             U.S. DEPARTMENT OF JUSTICE

                                             /s/ Joanna K. W. Bowman
                                             JOANNA K. W. BOWMAN
                                             TRIAL ATTORNEY
                                             Special Matters Unit
                                             Government Attorney No. G04001
                                             1400 New York Avenue, NW

2
  The Government reserves the right to seek authorization from the privilege holder or the Court
to produce the BIBTC Filter Material or any portion thereof to the Prosecution Team.
                                                3
Case 3:22-cr-00342-SCC Document 403 Filed 11/08/23 Page 4 of 6




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                              4
         Case 3:22-cr-00342-SCC Document 403 Filed 11/08/23 Page 5 of 6




                            CERTIFICATE OF CONFERENCE

       I HEREBY CERTIFY that I conferred with counsel for Defendants Wanda Vázquez

Garced, Julio M. Herrera Velutini, and Mark T. Rossini, and their counsel does not object.

       In addition, I hereby certify that I conferred with counsel for the Receiver for BIBTC, and

counsel consents.

                                                    /s/ Joanna K. W. Bowman
                                                    Joanna K. W. Bowman
                                                    Trial Attorney
                                                    United States Department of Justice
                                                    Criminal Division, Fraud Section




                                                5
           Case 3:22-cr-00342-SCC Document 403 Filed 11/08/23 Page 6 of 6




                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this date, November 8, 2023, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system, which will notify all counsel of

record.

          I hereby certify that on this date, November 8, 2023, I sent a copy of this filing and

proposed order to counsel for the Receiver for BIBTC via email.

                                                     /s/ Joanna K. W. Bowman
                                                     Joanna K. W. Bowman
                                                     Trial Attorney
                                                     United States Department of Justice
                                                     Criminal Division, Fraud Section




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